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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         Case No.

  NOACH NEWMAN, ADIN GESS,
  MAYA PARIZER, NATALIE SANANDAJI,
  and YONI DILLER,

          Plaintiffs,

  v.

  THE ASSOCIATED PRESS,

       Defendant.
  _____________________________/

                                             COMPLAINT

          Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji, and Yoni Diller,

  by and through the undersigned attorneys and firms working with the National Jewish Advocacy

  Center, Inc. (“NJAC”), sue Defendant, The Associated Press (“AP” or “Defendant”), and allege

  as follows:

                                          INTRODUCTION

          1.     On October 7, 2023, the sovereign State of Israel was brutally attacked by over 1,500

  Hamas terrorists and many other supposed “civilians,” from the Gaza Strip, in the early morning

  hours. After Hamas rained down rockets on Israel’s civilian centers, they breached the security

  barrier that surrounded the Gaza Strip and perpetrated the most grotesque, bloodiest, and deadliest

  attack on Jewish people since the Holocaust. Women were raped and killed en masse, the elderly

  and children were murdered in cold blood, and hundreds of young innocent civilians dancing at a

  peace festival were slaughtered. When the dust settled, Hamas had killed more than 1,200 people,

  including 32 Americans, injured over 6,900 individuals and kidnapped 239 innocent civilians into

  Gaza.
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         2.       Much of Hamas’s atrocity and barbarity was captured by the Hamas terrorists

  themselves, on personal Go Pro cameras, and later uploaded to their Telegram channels. Other

  Hamas terrorists filmed their murdering of civilians with the civilians’ own phones and then

  uploaded it to those civilians’ own social media accounts so that their families would find it.

         3.       Several major media outlets posted real-time photographs of the atrocities being

  committed. For example, AP’s website gave credit to photographers Hassan Eslaiah, Yousef

  Masoud, Ali Mahmud and Hatem Ali, for taking photographs of the massacre inside of the State

  of Israel. These photojournalists are known Hamas associates who were gleefully embedded with

  the Hamas terrorists during the October 7th attacks, and who sometimes worked for AP. Upon

  information and belief, AP paid for the real time images of Israeli hostages being taken into Gaza

  despite having been warned well in advance that at least one of these so-called “journalists” were

  in fact Hamas affiliates, and despite the clear indications that they were functioning as full

  participants of the Hamas terrorist squad that conducted the October 7th attack, and not as AP chose

  to pretend as journalists.

         4.       Upon information and belief, including documented communications, AP has long

  been on notice of their freelancer’s Hamas connections, and chose to ignore those connections.

  There is no doubt that AP’s photographers participated in the October 7th massacre, and that AP

  knew, or at the very least should have known, through simple due diligence, that the people they

  were paying were longstanding Hamas affiliates and full participants in the terrorist attack that

  they were also documenting. AP willfully chose to turn a blind eye to these facts, and instead

  profited from its terrorist photographer’s participation in the massacre through its publication of

  the “exclusive” images, for which it certainly paid a premium, effectively funding a terrorist

  organization.




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                                     NATURE OF THE ACTION

         5.      This is an action for damages against AP pursuant to the Antiterrorism Act, 18

  U.S.C. § 2333 (“ATA”), as amended by the Justice Against Sponsors of Terrorism Act (“JASTA”),

  Pub. L. No. 114-222 (2016), for aiding, abetting, and knowingly providing support and resources

  to Hamas, a radical Islamist designated Foreign Terrorist Organization (“FTO”) that is committed

  to the globalization of Islam through violent holy war.

         6.      Congress enacted the ATA in October 1992 as a legal complement to criminal

  penalties against terrorists that kill or injure Americans abroad, specifically intending that the civil

  provisions would not only provide a mechanism for compensating victims of terror, but also serve

  as an important means of depriving terrorists of financial resources to carry out attacks.

         7.      Following the bombing of the World Trade Center in New York by al-Qaeda in

  1993, Congress again targeted terrorist resources by enacting 18 U.S.C. § 2339A in September

  1994, making it a crime to provide material support or resources knowing or intending that they

  will be used in preparing or carrying out terrorist acts.

         8.      In April 1996, Congress further expanded the effort to cut off resources to terrorists

  by enacting 18 U.S.C. § 2339B, making it a crime to knowingly provide material support or

  resources to a designated foreign terrorist organization.

         9.      In the wake of the September 11, 2001 terror attacks carried out by al-Qaeda in the

  United States that killed nearly 3,000 Americans, Congress amended the “material support”

  statutes, 18 U.S.C. §§ 2339A-B, via the PATRIOT Act in October 2001 and the Intelligence

  Reform and Terrorism Prevention Act of 2004, to impose greater criminal penalties for violating

  these statutes and to expand the definition of “material support or resources” prohibited thereby.




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         10.     In September 2016, Congress amended the ATA’s civil provisions to recognize

  causes of action for aiding and abetting and conspiring with foreign terrorist organizations who

  plan, prepare, or carry out acts of international terrorism. JASTA, Public Law No: 114-222

  (09/28/2016) states, in relevant part:

                 Purpose. –The purpose of this Act is to provide civil litigants with
                 the broadest possible basis, consistent with the Constitution of the
                 United States, to seek relief against persons, entities, and foreign
                 countries, wherever acting and wherever they may be found, that
                 have provided material support, directly or indirectly, to foreign
                 organizations or persons that engage in terrorist activities against the
                 United States. (JASTA 2(b))

         11.     The ATA’s civil remedies serve to enforce existing federal criminal anti-terrorism

  provisions and as a legal complement to criminal penalties against terrorists that kill or injure

  Americans abroad. The intent is that the civil provisions not only provide a mechanism for

  compensating victims of terror but also serve as an important means of depriving terrorists of

  financial resources to carry out attacks.

                                   JURISDICTION AND VENUE

         12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 and 18 U.S.C. §§ 2333 and 2334, as this is a civil action brought by nationals of the United

  States who have been killed or injured by reason of acts of international terrorism, and/or their

  estates, survivors, and heirs.

         13.     This Court has personal jurisdiction over AP pursuant to Florida Statute §

  48.193(1)(a)(1) because it maintains a Doral, Florida office and transacts business and has

  employees working from such office.




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                                              PARTIES

          14.    Plaintiff Noach Newman is an American and Israeli citizen. His brother David Yair

  Shalom Newman, also an American and Israeli citizen, attended the Nova Festival on October 7

  and was there when Hamas terrorists swarmed the peaceful gathering. Hamas terrorists killed

  David as he saved his girlfriend and several other civilians. As a result, Plaintiff Noach Newman

  and his family have suffered and continue to suffer severe mental anguish and extreme emotional

  pain and suffering.

          15.    Plaintiff Yoni Diller, an American and Israeli citizen, attended the Nova Festival

  on October 7. He was enjoying the festivities in Raanana with his friends when the morning

  unfolded into a nightmare of sirens, missiles, death, and chaos. Amidst the turmoil, they sought

  refuge, aiding the wounded and enduring a journey fraught with horrendous life-threatening fear.

  Relief intertwined with sorrow as they counted the losses: four of their close friends gone amidst

  the hundreds of lives claimed by the merciless hands of Hamas terrorists. As a result, Yoni has

  suffered severe mental anguish, extreme emotional pain, and suffering.

          16.    Plaintiff Adin Gess, an American citizen who lived with his family in Kibbutz

  Holit, was thankfully not at home during the horrific attack but witnessed the massacre on the

  communal WhatsApp group and saw his friends and community pleading for help before they

  were brutally murdered. Gess and the entire community were immediately evacuated from their

  homes, to which they have not been able to return, and will not be able to return for the foreseeable

  future. They have lost their belongings, their community, and their entire way of life. They live as

  displaced nomads now, and in constant fear of attack, both of which are factors that impact any

  sense of normalcy and routine. As a result of the actions of the Hamas terrorists that day, Gess and




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  his family have sought professional help for their trauma, and have suffered severe mental anguish,

  extreme emotional pain, and suffering.

          17.    Plaintiff Natalie Sanandaji, an American citizen, who resides in New York, was

  visiting Israel in October 2023, when she made the fateful decision to attend the Nova Festival on

  October 7 with some Israeli friends. When the Hamas terror attack began at the festival, Sanandaji

  fled by car, and then by foot for several hours, witnessing the atrocities first-hand, and running

  through Hamas gunfire. After approximately four hours running through fields in the South of

  Israel, Sanandaji was saved by a good Samaritan. As a result, Sanandaji has suffered severe mental

  anguish, extreme emotional pain, and suffering.

          18.    Plaintiff Maya Parizer, an American and Israeli citizen, attended the Nova Festival

  on October 7 as part of her birthday celebration with her boyfriend and other friends. She was

  enjoying the festivities with her friends when the morning unfolded into a nightmare of sirens,

  missiles, death, and chaos. Amidst the turmoil, Parizer escaped by driving with her boyfriend while

  dodging bullets on the road, passing vehicles on the side of the highway that had been shot up by

  Hamas and dead Israeli bodies that were strewn on the side of the road. Parizer ultimately found

  refuge in a nearby town. As a result of her experiences, Parizer has suffered severe mental anguish,

  extreme emotional pain, and suffering.

          19.    Defendant The Associated Press is an American not-for-profit news agency

  headquartered at 200 Liberty Street, New York, New York. AP maintains offices throughout

  Florida, including in Cape Canaveral. Orlando, Tallahassee, West Palm Beach and Miami. Its

  principal office in Florida is located at 9100 N.W. 36th Street, Suite 111, Miami, FL 33178, and

  AP maintains a significant presence in Miami.




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                                     GENERAL ALLEGATIONS

  Hamas

          20.     Hamas was founded in December 1987. Hamas is a United States-designated

  terrorist entity formally committed to the destruction of the State of Israel and the elimination of

  Jewish people around the globe, and to achieving its objectives by violent means, including acts

  of terrorism. The Hamas Charter states that Hamas’s very purpose is to create an Islamic

  Palestinian state throughout Israel by eliminating the State of Israel through violent jihad. It also

  calls for the extermination of all Jews, anywhere and everywhere they may be found.

          21.     Hamas has two prime components: its political and social infrastructure; and its

  paramilitary and terrorist infrastructure known as the Izz al-Din al-Qassam Brigades. These two

  components, while officially separate, operate in tandem to further the objectives of Hamas.

          22.     Consistent with the findings of both Congress and the Executive Branch, financial

  services and other material support provided to Hamas ultimately inures to the benefit of its

  criminal, terrorist functions – regardless of whether such support was ostensibly provided to

  support non-violent activities.

          23.     Hamas utilizes a network of overseas charities and businesses as well as its

  charitable and social infrastructure to, among other things, recruit and train Izz al-Din al-Qassam

  Brigades cell members and provide salaries for Hamas's terrorist operatives and leadership.

          24.     Hamas also uses violence, principally bombings, shootings, stabbings, rocket

  attacks, and other threats of violence to promote its stated goals of destruction of the State of Israel

  and the Jewish people.

          25.     Hamas knowingly, willfully, and unlawfully combines, conspires, collaborates and

  agrees to commit numerous acts of international terrorism and other related criminal activity,




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  including murder, attempted murder, solicitation to commit murder, terrorism financing,

  supporting, aiding and abetting, and conspiring with other terrorists and FTOs, and numerous other

  acts of international terrorism activities as defined by 18 U.S.C. § 2331 and 18 U.S.C. § 2332 and

  other related acts of murder, attempted murder, solicitation to commit murder and providing

  material support to other designated FTOs in violation of the federal criminal code of the United

  States.

  The October 7, 2023 Terrorist Attack

            26.   On October 7, 2023, Hamas launched a barrage of rockets directed at Israeli civilian

  centers. During the rocket attack, armed Hamas terrorists, many of them riding on motorcycles, in

  cars and trucks, or on paragliders, stormed into Israel from the Gaza Strip, where they shot and

  killed the inhabitants of nearby kibbutzes and small towns as well as numerous participants in a

  local musical peace festival.

            27.   At least 260 bodies were removed from the festival venue following the attack.

  Other festival attendees were abducted.

            28.   Hamas also engaged in the wholesale slaughter and mutilation of Israeli citizens,

  including entire families, women, children, and infants as well as the elderly.

            29.   As those under attack rushed to safe rooms and bomb shelters the Hamas terrorists

  marched into towns and into kibbutz after kibbutz, going from house to house and car to car

  opening fire on families and killing Israeli citizens at random. Terrorists burst into homes shooting

  residents begging for their lives and taking others -- including women, children, and the elderly --

  hostage, driving or marching the terrified captives back into Gaza at gunpoint.




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  The Hamas-Affiliated ‘Journalists’

         30.     At all relevant times prior to the Terrorist Attack, Hassan Eslaiah, Yousef Masoud,

  Ali Mahmud, Hatem Ali, and other similarly situated journalists embedded with or affiliated with

  Hamas (the “Hamas-Affiliated ‘Journalists’”) were Gaza-based journalists/photojournalists or

  media influencers working for Defendant and freelancing for other international news outlets.

         31.     At least one of the Hamas-Affiliated ‘Journalists,’ Hassan Eslaiah, was and is

  known to be very close with Yahya Sinwar (“Sinwar”), a high-ranking Hamas official, leader of

  Hamas in the Gaza strip, convicted murderer of fellow Palestinians, and operational mastermind

  of the Terrorist Attack. A photo of Sinwar kissing Hassan Eslaiah (at right), provided below, was

  originally posted by Eslaiah on January 9, 2020, more than three years prior to the Terrorist Attack.

  A true and correct copy of the January 9, 2020 photo is attached as Exhibit A.




  See Ex. A.

         32.     In fact, the relationship between Sinwar and Hassan Eslaiah was sufficiently open

  and notorious such that the photo was quickly produced by Honest Reporting, an NGO dedicated

  to combatting prejudice in journalism and the media, with a fraction of the resources available to

  Defendant.

         33.     Over five years ago, AP was informed by a watchdog organization that Hassan

  Eslaiah was affiliated with Hamas, promoted and glorified terrorism, called for people to commit



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   acts of violence, celebrated murders, and was even officially working for a Hamas-affiliated news

   station. 1 A true and correct copy of those communications is attached as Composite Exhibit B.

   AP chose to ignore this warning and continued paying Eslaiah for his work.

            34.   AP did this despite its written guidelines which state that “AP employees must

   refrain from declaring their views on contentious public issues in any public forum and must not

   take part in organized action in support of causes or movements.” AP has fired other photographers

   for infractions of this policy, noting in their termination letters that AP’s policies and guidelines

   “prescribe an absolute duty of strict neutrality to be displayed in your professional work and public

   activities to uphold the credibility of the AP.” See May 27, 2020 Letter from AP to Eyad,

   https://mondoweiss.net/wp-content/uploads/2020/05/Image-from-iOS-1.jpg (last visited Feb. 21,

   2024).

            35.   AP’s policies also state, in relevant part, that;

                  We preserve the appropriate professional distance from those we
                  cover…We avoid behavior or activities that create as a conflict of
                  interest that compromise our ability to report the news fairly and
                  accurately, uninfluenced by any person or action…AP employees
                  must avoid behavior or activities that could create a conflict of
                  interest or compromise our ability to report the news fairly and
                  accurately, uninfluenced by any person or action. Those who work
                  for the AP must be mindful that opinions they express may damage
                  the AP's reputation as an unbiased source of news. They must refrain
                  from declaring their views on contentious public issues in any public
                  forum, whether through blogs, social networks, comments pages,
                  petitions, bumper stickers or lapel buttons. They must not take part
                  in demonstrations in support of causes or movements- or contribute
                  to them in any way. 2


   1
     See 2020 Country Reports on Human Rights Practices: Israel, West Bank and Gaza, U.S. DEPT.
   OF STATE, https://www.state.gov/reports/2020-country-reports-on-human-rights-practices/israel-
   west-bank-and-gaza/west-bank-and-gaza/ (last visited Feb. 21, 2024 (referring to the “Hamas-
   affiliated Quds News Network.”).
   2
       The Associated Press Statement of News Values and Principles, AP.ORG,
   https://www.ap.org/about/news-values-and-principles/downloads/ap-news-values-and-
   principles.pdf (last visited Feb. 21, 2024).


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          36.     AP explicitly applies these standards to its freelancers as well.

          37.     In its abridged statement of values prepared specifically for freelancers (which

   refers them to the fuller statement quoted above) AP writes that: “Freelance journalists working

   for AP should work to remain impartial and avoid expressions of opinion in public forums or on

   social media that might compromise AP’s reputation as an unbiased and fair news source, such as

   commenting on public figures or public controversies…You may not engage in openly partisan or

   political behavior or expressions of opinion on contentious public issues, being mindful that

   positions you express publicly may damage AP’s reputation as an unbiased source of news. 3

          38.     On the morning of October 7th, the Hamas-Affiliated ‘Journalists’ arrived at

   roughly the same time as the initial Hamas terrorists who breached entry into the State of Israel,

   indicating that they had advance knowledge of the plan to attack.

          39.     During the Terrorist Attack, the Hamas-Affiliated ‘Journalists’ infiltrated Israel

   from Gaza through an unauthorized breach created by the other Hamas terrorists. Photo and video

   evidence show that the Hamas-Affiliated ‘Journalists’ were embedded among the throng of Hamas

   terrorists murdering and kidnapping Israelis.

          40.     The participation of the Hamas-Affiliated ‘Journalists’ in the Terrorist Attack was

   conscious and voluntary, and they are culpable in the terrorist acts perpetrated by the Hamas

   terrorists by aiding and abetting in the infiltration of Israel, its cities, and settlements, and, in

   addition, for providing material promotional and propaganda support via their photos, videos, and

   social media posts.




   3
     The Associated Press Abridged Statement of News Values and Principles and Conflicts of
   Interest, AP.ORG, https://www.ap.org/freelancer-news-values (last visited Feb. 21, 2024).


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          41.     On the morning of October 7th at 5:59 am (approximately 30 minutes before the

   massacre began at 6:30 am), Eslaiah posted on his personal Telegram channel: “We wake up to

   the great gifts of God. The spirit has returned, and our blessings have increased.” 4

          42.     Within half an hour, Eslaiah posted about the rockets being launched at Israel and

   the sounds of the Iron Dome intercepting them over Khan Yunis. Then, between 6:55 a.m. and

   8:30 a.m., Eslaiah posted multiple variations of the following message: “To follow the latest news

   moment by moment, follow me on my media platforms.” 5

          43.     At 8:29 a.m., Eslaiah appeared “live from inside the settlements near the Gaza

   Strip” with a picture of a burning tank in the background.




   See Exhibit C.




   4
     Maayan Jaffe-Hoffman, Crossing the lines of integrity with a Hamas-praising photojournalist –
   analysis, THE JERUSALEM POST (November 12, 2023, 09:59), https://www.jpost.com/arab-israeli-
   conflict/gaza-news/article-772827 (last visited Feb. 19, 2024).
   5
     Id.


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          44.     Exhibit C is a screenshot of Eslaiah’s now-removed tweets on X in which he

   documented himself standing in front of the Israeli tank. He did not wear a press vest or a helmet,

   or any other press credentials, and the Arabic caption of his tweet reads: “Live from inside the

   Gaza Strip settlements.”




   See Exhibit D.

          45.     Exhibit D is a photo of Eslaiah in front of the burning tank.

          46.     Upon information and belief, the fact that Eslaiah was already well-known within

   Hamas enabled him to secure photographic opportunities that would have otherwise been difficult

   for someone without Hamas connections and who was displaying press credentials to obtain.




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   See Exhibit E.

            47.        Exhibit E is a photo of an Israeli tank being destroyed. Photo credit is (AP

   Photo/Hassan Eslaiah).

            48.        Footage of Eslaiah, without press identification, after he crossed into Israel and took

   photos         of         a      burning        Israeli      tank       can       be       found        at:

   https://twitter.com/i/status/1722374182246179217.

            49.        Eslaiah also captured infiltrators entering Kibbutz Kfar Azza, the scene of some of

   the worst atrocities against Israeli civilians. A photo of the infiltration of Kfar Azza—photo credit:

   Hassan Elaiah/AP—is attached as Exhibit F.




   See Ex. F.

            50.        There was no limit to Eslaiah’s ability to access the most violent and dangerous

   scenes of the Hamas Terrorist Attack, despite not being identifiable as a member of the press,

   thereby indicating the degree of his entrenchment within Hamas and the trust that his fellow Hamas




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   Terrorists placed in him. Additional images taken by Gaza photo ‘journalist’ Eslaiah of the Hamas

   massacre on October 7, 2023 are attached as Exhibit G.




   See Ex. G.

          51.     At 8:36 a.m., after witnessing nearly 10 minutes of the massacre, Eslaiah posted

   images from the scene with a verse from the Koran: “And on that day, the believers will rejoice in

   the victory of Allah” and the hashtag “#AqsaFlood.” 6

          52.     At 9:25 a.m., Eslaiah posted a video with his watermark: “Filmed by Hassan

   Eslaiah” in the center, depicting a room full of dead, bloody bodies. Upon information and belief,

   the voice in the background stating “[Animal] carcasses, carcasses. God is great. This is the path

   to Jerusalem” is Eslaiah’s voice. 7

          53.     Eslaiah also took photos for AP of the burning Jewish homes. AP used these photos.

   A copy of one of these photos is attached as Exhibit H.




   6
     Maayan Jaffe-Hoffman, Crossing the lines of integrity with a Hamas-praising photojournalist –
   analysis, THE JERUSALEM POST (November 12, 2023, 09:59), https://www.jpost.com/arab-israeli-
   conflict/gaza-news/article-772827 (last visited Feb. 19, 2024).
   7
     Id.


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   See Ex. H.

          54.     At 9:50 a.m., video shows Eslaiah heading back into Gaza on the back of someone’s

   motorbike, apparently equipped with a grenade, thereby putting him at the vanguard of the

   Terrorist Attack. Eslaiah has since admitted that it was him on the motorcycle. The 9:50 a.m. video,

   originally    posted      on     Eslaiah’s     Facebook       page      can     be     found      at:

   https://twitter.com/amit_segal/status/1722548954246549974.

          55.     During the Terrorist Attack, none of the Hamas-Affiliated ‘Journalists,’ including

   Eslaiah, wore press credentials or otherwise presented themselves as members of the press. The

   absence of press credentials, as well as their clearly celebratory posts (of which Eslaiah’s are only

   a sample) undermine any argument that the Hamas-Affiliated ‘Journalists’ were merely carrying

   out journalistic activities in response to a news-worthy event.

          56.     In fact, Eslaiah was on such friendly terms with Hamas terrorist operatives that

   prior to October 7th, he was selected by Hamas to document terrorists preparing to launch

   incendiary balloons into Israel. Upon information and belief, no similar access was accorded to




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   any other member of the press within Gaza. The footage, which was made widely and publicly

   available, can be found at: https://twitter.com/i/status/1722751078347735428.

           57.     The Hamas-Affiliated ‘Journalists,’ including known Hamas affiliate Eslaiah, were

   in fact aiding and abetting the Terrorist Attack on October 7th. They used their cameras to further

   dehumanize the terrified and horribly suffering victims, and to further terrorize the Jewish people.

   Then, utilizing the resources and platform of Defendant, who had prior knowledge of their terrorist

   affiliations but chose to ignore them, they broadcasted content glorifying the Terrorist Attack,

   promoting the goal of the destruction of the State of Israel around the world, and generating support

   for Hamas sustaining its terror operations post October 7, 2023, among other things.

           58.     In fact, to the people being tortured, raped, kidnapped, and killed, The Hamas-

   Affiliated ‘Journalists’ were indistinguishable from any of the other Hamas Terrorists. The Hamas

   Affiliated ‘Journalists’ prior knowledge of the attack, their presence among a violent group of

   terrorists overwhelming Israeli security, trespassing on sovereign Israeli territory, infiltrating

   sensitive military and civilian areas via trespass, and, as evident in the photo and video material,

   leering joyfully and celebrating the murders of civilians, meaningfully added to the numerical

   force of the Hamas Terrorists, and, upon information and belief, a) both greatly contributed to the

   terror that the civilians felt and b) also increased the difficulty for Israel to address and respond to

   the Terrorist Attack.

           59.     Upon information and belief, The Hamas-Affiliated ‘Journalists’ fled from Israel

   in the same direction as the Hamas Terrorists (Eslaiah on one of their motorcycles) and did in fact

   return to Gaza together with the Hamas Terrorists.




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   The Photos

          60.     In addition to participating in the infiltration of Israel’s borders along with the

   Hamas Terrorists, the Hamas-Affiliated ‘Journalists’ took photos of the devastation wrought by

   the Terrorist Attack which they subsequently provided, for payment, to Defendant.

          61.     Upon information and belief, Eslaiah took photos of a burning Israeli tank and

   Hamas Terrorists entering Kibbutz Kfar Azza. Retrieved screenshots of Eslaiah’s now-removed

   tweets on the social media site X, formerly known as Twitter, document Eslaiah standing in front

   of the burning Israeli tank without press vest or a helmet, and the Arabic caption of his tweet reads:

   “Live from inside the Gaza Strip settlements.”

          62.     In a video he posted, he explains that “[y]ou know, the beautiful thing about

   storming the settlements: the civilians, the people, they go [out] on foot and come back driving, be

   it a motorcycle, a scooter or a car – [one can] grab and load trophies.” The trophies, of course,

   refer to human beings. There are also tweets mocking ‘settlers’ hiding from the terrorists, and

   celebrating the murders as a divine blessing. An article about these tweets can be found at:

   https://www.camera.org/article/ap-freelancer-celebrates-10-7-massacre-despite-cameras-5-year-

   advance-warning-of-extremism-to-ap-editors/.

          63.     Even today, one can still access dozens of Eslaiah’s photographs from AP’s

   website,             available             at:            https://newsroom.ap.org/editorial-photos-

   videos/search?query=%22Hassan%20Eslaiah%22&mediaType=photo&st=keyword.

          64.     Ali Mahmud, and Hatem Ali were also sufficiently privileged within Hamas to be

   safely present during its most violent acts on October 7th, and a reputable news organization like

   AP, with basic research capabilities, could and should have known that.




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          65.    As a result of his embedded position within the Hamas terrorist infrastructure, Ali

   Mahmud was able to maintain a close proximity to Hamas’s violence and was thus able to capture

   one of the most infamous photos of the day, wherein the Hamas terrorists, equipped with at least

   one rocket-propelled grenade launcher, absconded to Gaza City with the half-naked body of a

   severely injured or already-murdered German-Israeli woman named Shani Louk. Louk was

   confirmed dead on October 30, 2023, when forensic examiners found the petrous part of the

   temporal bone from her skull on a road leading out of the festival site by matching it to her DNA

   and determined she could not have survived such injury. The rest of her remains have not yet been

   recovered. One of the many photos of the Hamas terrorists taken by Mahmud is attached as Exhibit

   I.




   See Ex. I.

          66.    Other photographs from Mahmud are still available on AP’s website, available at:

   https://newsroom.ap.org/editorial-photos-

   videos/search?query=%22ali%20mahmud%22&mediaType=photo&st=keyword.




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          67.     Hatem Ali, another AP photojournalist, was also so well ensconced within the

   Hamas hierarchy that he was able to capture close-up photos of the kidnapping and beating of an

   Israeli civilian. One of the many photos of the Hamas terrorists taken by Ali is attached as Exhibit

   J.




   See Ex. J.

          68.     Ali was also able to place himself in the path of a golf cart driven by a Hamas

   terrorist to transport a kidnapped Israeli civilian. A true and correct copy of this photograph is

   attached as Exhibit K.




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   See Ex. K.

          69.     Another photo taken by Ali comes from a vantage point immediately next to

   another golf cart transporting another Hamas kidnapping victim, 85-year-old Holocaust survivor

   Yaffa Adar, to her captivity in Gaza. A true and correct copy of this photo is attached as Exhibit

   L.




   See Ex. L.

          70.     Dozens of additional photos from Ali are available on AP’s website:

   https://newsroom.ap.org/editorial-photos-

   videos/search?query=%22hatem%20ali%22&mediaType=photo&st=keyword.




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   The Associated Press

           71.     AP was at all relevant times either aware of, or in some instances (at the very least)

   willfully blind to, the activities of the Hamas-Affiliated ‘Journalists’ it paid and did business with,

   including and especially the fact that Eslaiah, in particular, had, for a very long time, been affiliated

   and working with Hamas, a designated terrorist organization.

           72.     The presence of the Hamas-Affiliated ‘Journalists’ in the initial phases of the

   Terrorist Attack (as well as posts indicating advance notice); their possession of recording

   equipment but lack of press credentials or other indicia marking them as non-participants in the

   attack; the documented affiliation between Eslaiah and Sirwan, and the notice given to AP years

   in advance that Eslaiah was affiliated and working with Hamas; Eslaiah’s genocidal messaging

   accompanying his footage on social media; and his and others full acceptance within the ranks of

   the Hamas Terrorists as they carried out their grisly attacks—again despite the lack of press

   credentials—then gave him a ride back home, all indicate that the Hamas-Affiliated ‘Journalists’

   including Eslaiah were fully accepted and embedded within the Hamas infrastructure and were

   part of the Hamas Terrorists’ group, and that such relationship was publicly and easily

   ascertainable by information gathering agencies like AP who are required (especially when warned

   in advance) to do their due diligence.

           73.     The Hamas-Affiliated ‘Journalists’ produced photographic and video footage of the

   Terrorist attack that was used to glorify and promote and further the interests of Hamas, and

   Defendant knowingly paid for that work product.




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   Aiding & Abetting

           74.    Every person who illegally infiltrated Israel from Gaza on October 7 with

   knowledge that an attack was imminent was a material participant in the Terrorist Attack.

           75.    Every participant in the Terrorist Attack was a logistical and tactical consideration

   in Israel’s response to rescue its citizens and every site to which the Terrorist Attack spread was a

   factor in such response.

           76.    In joining the invasion of Israel with no press designations, and in encouraging the

   attackers and celebrating them during the attack, the Hamas-Affiliated ‘Journalists’ were

   logistically, tactically, and visually indistinguishable from the Hamas Terrorists, and were in fact

   a part of their massive throng as they moved from site to site. Upon information and belief, their

   presence and encouragement increased the terror that the victims, survivors, their families, and the

   extended community all felt.

           77.    The photos and footage recorded by the Hamas-Affiliated ‘Journalists’ in real time

   galvanized the attack and, upon information and belief (including the fact of their posing and

   pointing for the cameras), encouraged the further participation of Gazans (including the taking of

   human ‘trophies’) and delayed their plan to escape back to Gaza, thereby causing the deaths and

   kidnappings of additional innocent victims in Israel.

           78.    The Hamas-Affiliated ‘Journalists’ recorded footage with the expectation that AP

   would pay for it.

           79.    The affiliations of the Hamas-Affiliated ‘Journalists’ with Hamas were open and

   notorious and easily ascertainable by AP, such that even cursory diligence should have uncovered

   them.




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           80.        In the case of Eslaiah, it was well-documented. AP still chose to utilize the Hamas-

   Affiliated ‘Journalists’ services (including Eslaiah’s) and provided them with material support—

   both in terms of the money they were paid and the legitimacy and ability granted to cast themselves

   to the world as neutral fact finders instead of terrorists. Rather than disaffiliate from the Hamas-

   Affiliated ‘Journalists’— even after having been warned to do so with regard to Eslaiah—AP

   continued to leverage their terrorist connections for content.

           81.        Aside from the money that exchanged hands, AP provided Hamas with the

   imprimatur of a mighty and respected news agency, giving their professional propagandists access

   to one of the world’s most respected media outlets.

           82.        AP knowingly patronized terrorist elements by (1) closely and openly associating

   with an FTO in a bi-lateral relationship whereby AP obtained access to footage that is difficult to

   secure, and (2) the Hamas-Affiliated ‘Journalists’ and the FTO received money and access to one

   of the foremost news platforms in the world to spread their message and propagandize their

   terrorist cause.

   Material Support

           83.        The participation of the Hamas-Affiliated ‘Journalists’ in the invasion of Israel and

   the Terrorist Attack, especially with nothing to identify them as members of the press, made them

   members of the mob orchestrated by Hamas, an FTO, on October 7, 2023.

           84.        AP’s ad hoc employment of the Hamas-Affiliated ‘Journalists’ legitimized their

   statuses as members of the press and, by extension, neutral parties, making them incredibly useful

   tools for Hamas’ public relations efforts. In reality, the Hamas-Affiliated ‘Journalists’ were openly

   embedded with an FTO and their affiliation with AP thinly masked an entirely different and malign

   intent and agenda.




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          85.     The Hamas-Affiliated ‘Journalists’ took photos and recorded footage, sometimes

   including themselves in such footage, over the course of their hours-long participation in the

   invasion of Israel.

          86.     The footage recorded by the Hamas-Affiliated ‘Journalists’ was sold to AP, and

   produced in such a way as to cast the Hamas Terrorist Attack in positive and even heroic terms.

          87.     The money AP sent to purchase the footage provided significant additional material

   support to Hamas by allowing them the ability to influence the media portrayal of the Hamas

   Terrorist Attack even as it occurred in a manner desired and framed by trusted Hamas affiliates.

          88.     Upon information and belief, the immediate framing had the effect of galvanizing

   public sentiment within Gaza; spreading Hamas propaganda, and helping shape public opinion

   around the world, including helping Hamas gain public support for sustaining its terror operations

   post October 7, 2023, among other things.

          89.     Hamas’ preoccupation with shaping public opinion, both within Gaza and

   internationally, is an important facet of Hamas’ global strategy, and an operational tactic to which

   it devotes significant resources on a near constant basis.

          90.     The Hamas-Affiliated ‘Journalists’ were in fact part of the critical propaganda arm

   for Hamas and were operating under aegis of the Defendant, who knew (or in some cases should

   have known) of their terrorist affiliations, and who utilized those affiliations to their benefit to

   generate content for their news media vehicle.

          91.     Rather than disaffiliate from the Hamas-Affiliated ‘Journalists,’ AP continued to

   utilize their services and leverage their terrorist connections for content thereby providing Hamas

   with credentialled propagandists with access to one of the world’s most respected media outlets.




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          92.     AP knowingly provided material support and resources to Hamas by knowingly

   retaining the Hamas-Affiliated ‘Journalists’/Terrorists, paying them money to generate content

   shaped and influenced by FTO affiliates for dissemination to the public, under the guise of

   impartial and neutral journalistic reporting.

          93.     Hamas used and relied on AP as an important tool to spread its messaging, increase

   its terroristic capabilities, and facilitate and carry out its propaganda and recruitment efforts in

   Gaza and internationally.

          94.     AP gave an uncritical platform to Hamas terrorists to positively shape public

   opinion about the massacres carried out by Hamas during the Terrorist Attack.

          95.     By providing its various news platforms to the Hamas-Affiliated ‘Journalists’

   embedded with Hamas, AP (1) violated the federal prohibitions on providing material support or

   resources for acts of international terrorism (18 U.S.C. § 2339A) and providing material support

   or resources to designated foreign terrorist organizations (18 U.S.C. § 2339B); (2) aided and

   abetted and conspired with a designated FTO in the commission of acts of international terrorism

   as defined by 18 U.S.C. § 2331; and (3) committed acts of international terrorism as defined by 18

   U.S.C. § 2331. Accordingly, AP is liable pursuant to 18 U.S.C. § 2333 to the plaintiffs, who were

   injured by reason of acts of international terrorism.

                                   COUNT I
            AIDING AND ABETTING ACTS OF INTERNATIONAL TERRORISM
                       PURSUANT TO 18 U.S.C. § 2333(a) and (d)

          96.     Plaintiffs repeat and reallege paragraphs 1 through 95 as if fully set forth herein.

          97.     Hamas emerged in 1987 during the first Palestinian uprising, or intifada, as an

   outgrowth of the Muslim Brotherhood’s Palestinian branch. The group is committed to armed




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   resistance against Israel, the elimination of world Jewry, and the creation of an Islamic Palestinian

   state in Israel’s place.

           98.     Hamas has been the de facto governing body in the Gaza Strip since 2007, when it

   ousted the Palestinian Authority from power. Hamas uses improvised explosive devices, short-

   and long-range rockets and mortars, small arms, kidnapping operations, rocket-propelled grenades,

   man-portable air defense systems, antitank missiles, and unmanned aircraft systems in attacks

   against Israeli military forces and civilians, as well as against dissenting groups in Gaza. The group

   also uses cyber espionage and computer network exploitation operations as well as a vast array of

   media vehicles for propaganda and messaging purposes.

           99.     The US State Department designated Hamas as a foreign terrorist organization in

   October 1997 in accordance with section 219 of the Immigration and Nationality Act (INA), as

   amended. FTO designations play a critical role in our fight against terrorism and are an effective

   means of curtailing support for terrorist activities and pressuring groups to get out of the terrorism

   business.

           100.    Hamas has committed, planned, or authorized activities that involved violence or

   acts dangerous to human life that are a violation of the criminal laws of the United States, or that

   would be a criminal violation if committed within the jurisdiction of the United States, including

   inter alia the prohibition on killing, attempting to kill, causing serious bodily injury, or attempting

   to cause serious bodily injury to U.S. citizens as set forth in 18 U.S.C. § 2332.

           101.    These activities committed, planned, or authorized by Hamas have been, and were

   intended to: (a) intimidate or coerce the civilian populations of Israel, the United States, and other

   countries; (b) influence the policy of the Governments of Israel, the United States and other




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   countries by intimidation or coercion; or (c) affect the conduct of the Governments of Israel, the

   United States and other countries by mass destruction, assassination, or kidnapping.

           102.    These activities committed, planned, or authorized by Hamas occurred entirely or

   primarily outside of the territorial jurisdiction of the United States and constituted acts of

   international terrorism as defined in 18 U.S.C. § 2331(1).

           103.    Plaintiffs have been injured in their person by reason of the acts of international

   terrorism committed, planned, or authorized by Hamas.

           104.    At all times relevant to this action, AP knew that Hamas was a Foreign Terrorist

   Organization, and that it had engaged in and continued to engage in illegal acts of terrorism,

   including international terrorism.

           105.    At all relevant times, AP knew or made themselves willfully blind to the fact that

   the Hamas-Affiliated ‘Journalists’ were fully embedded within Hamas, shared its terrorist

   ideology, were privy to Hamas’ tactical and strategic activities, provided support to Hamas and

   members of its leadership, and shaped and fashioned their media and journalistic services via AP

   to further the goals and objectives of Hamas.

           106.    AP, through its use of Hamas-Affiliated ‘Journalists,’ knowingly provided

   substantial assistance and encouragement to Hamas, and thus aided and abetted Hamas in

   committing, planning, or authorizing acts of international terrorism, including the acts of

   international terrorism that injured Plaintiffs.

           107.    By aiding and abetting Hamas in committing, planning, or authorizing acts of

   international terrorism, including acts that caused Plaintiffs to be injured in his or her person and

   property, AP is liable pursuant to 18 U.S.C. § 2333(a) and (d) for threefold any and all damages




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   that Plaintiffs have sustained as a result of such injuries, and the costs of this suit, including

   attorney's fees.

           WHEREFORE, Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji,

   and Yoni Diller demand judgment in their favor against Defendant The Associated Press, threefold

   damages pursuant to 18 U.S.C. § 2333(a) and (d), attorney’s fees and costs pursuant to 18 U.S.C.

   § 2333(a), and for such other and further relief as this Court deems just and proper.

                                COUNT II
     CONSPIRING IN FURTHERANCE OF ACTS OF INTERNATIONAL TERRORISM
                     PURSUANT TO 18 U.S.C. § 2333(a) and (d)

           108.       Plaintiffs repeat and reallege paragraphs 1 through 95 as if fully set forth herein.

           109.       AP permitted Hamas and its affiliates, including Eslaiah, to register and use

   Defendant’s assets and services to promote and carry out Hamas’ activities, including Hamas’

   illegal acts of international terrorism that injured Plaintiffs, and with the expectation that aside

   from the priceless exposure they were being given, AP would also continue to pay money for their

   work product.

           110.       AP was aware that U.S. federal law prohibited providing material support and

   resources to, or engaging in transactions with, designated foreign terrorist organizations and other

   specially designated terrorists.

           111.       AP thus conspired with Hamas in its illegal provision of its media sites to promote,

   glorify and carry out Hamas’ illegal acts of international terrorism, including the acts that injured

   Plaintiffs.

           112.       By conspiring with Hamas in furtherance of Hamas’ committing, planning, or

   authorizing acts of international terrorism, including acts that caused each of the Plaintiffs to be

   injured in his or her person and property, AP is liable pursuant to 18 U.S.C. § 2333(a) and (d) for




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   threefold any and all damages that Plaintiffs have sustained as a result of such injuries, and the

   costs of this suit, including attorney's fees.

           WHEREFORE, Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji,

   and Yoni Diller demand judgment in their favor against Defendant The Associated Press, threefold

   damages pursuant to 18 U.S.C. § 2333(a) and (d), attorney’s fees and costs pursuant to 18 U.S.C.

   § 2333(a), and for such other and further relief as this Court deems just and proper.

                                       COUNT III
                   PROVISION OF MATERIAL SUPPORT TO TERRORISTS
                   IN VIOLATION OF 18 U.S.C. § 2339A AND 18 U.S.C. § 2333

           113.    Plaintiffs repeat and reallege paragraphs 1 through 95 as if fully set forth herein.

           114.    Aside from the money, the access to AP’s media platforms and the veneer or

   respectability associated with press credentials and affiliation with a major news organization

   which AP knowingly provided to Hamas, substantially assisted Hamas in carrying out its terrorist

   activities, including recruiting, propagandizing, messaging, radicalizing, and instructing terrorists,

   raising funds, creating fear, carrying out attacks, and sustaining its terror operations post October

   7, 2023, among other things.

           115.    Even before October 7, AP through its actions also provided value to Hamas by

   making Hamas leaders, members, and potential new recruits available to each other and to the

   terrorist organization generally. AP did this by providing credentialed “journalists” with an

   unparalleled public platform to form crucial communication links both within Gaza and without,

   amongst and between terrorist operatives and leaders who would otherwise be unable to talk to

   each other or shape messaging. The ability to propagandize and message via the Hamas-Affiliated

   ‘Journalists’ who were being paid by AP, notwithstanding their open and notorious affiliation with




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   Hamas, constituted material support and resources pursuant to 18 U.S.C. § 2339A, and they

   facilitated acts of terrorism in violation of 18 U.S.C. § 2332 that caused the injuries to Plaintiffs.

           116.    AP provided these services to Hamas, knowing (or turning a blind eye to the fact

   that) that they were to be used in preparation for, or in carrying out, criminal acts including the

   acts that injured the Plaintiffs.

           117.    Without the material support of AP, Hamas would have been less able to recruit,

   radicalize and gain international support and funding, and the attack that injured the Plaintiffs

   would have been substantially more difficult to implement.

           118.    By committing violations of 18 U.S.C. § 2339A, that have caused the Plaintiffs to

   be injured in his or her person, business or property, AP is liable pursuant to 18 U.S.C. § 2333 for

   any and all damages that Plaintiffs have sustained as a result of such injuries.

           WHEREFORE, Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji,

   and Yoni Diller demand judgment in their favor against Defendant The Associated Press, actual

   damages pursuant to 18 U.S.C. § 2333, and for such other and further relief as this Court deems

   just and proper.

                                     COUNT IV
      PROVISION OF MATERIAL SUPPORT AND RESOURCES TO A DESIGNATED
             FOREIGN TERRORIST ORGANIZATION IN VIOLATION OF
                   18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)

           119.    Plaintiffs repeat and reallege paragraphs 1 through 95 as if fully set forth herein.

           120.    By knowingly (or with willful blindness) providing its news media platform for the

   benefit of Hamas, and by paying known Hamas members and affiliates, AP has provided material

   support and resources to a designated Foreign Terrorist Organization under the Antiterrorism and

   Effective Death Penalty Act of 1996 in violation of 18 U.S.C. § 2339B(a)(1).

           121.    AP knew of (or was willfully blind to) Hamas’ terrorist activities.



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          122.    AP knew (or was willfully blind to the fact) that Hamas had been designated a

   Foreign Terrorist Organization by the United States Government.

          123.    The support that AP purposefully, knowingly or with willful blindness provided to

   Hamas constitutes material support to the preparation and carrying out of acts of international

   terrorism, including the attack in which the Plaintiffs and/or their family members were killed,

   captured, or injured.

          124.    AP’s violation of 18 U.S.C. § 2339B proximately caused the damages to Plaintiffs

   described herein.

          125.    By knowingly (or with willful blindness) providing material support to a designated

   Foreign Terrorist Organization, AP is therefore civilly liable for damages to Plaintiffs for their

   injuries pursuant to 18 U.S.C. § 2333(a).

          WHEREFORE, Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji,

   and Yoni Diller demand judgment in their favor against Defendant The Associated Press, actual

   damages pursuant to 18 U.S.C. § 2333, and for such other and further relief as this Court deems

   just and proper.

                                       COUNT V
                      NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

          126.    Plaintiffs repeat and reallege paragraphs 1 through 95 as if fully set forth herein.

          127.    AP engaged in negligent behavior by providing support and aid to Hamas, through

   its engagement of Hamas-Affiliated “Journalists,” as described in detail above.

          128.    AP’s acts of providing services to Hamas constituted a willful violation of federal

   statutes, and thus amounted to a willful violation of a statutory standard.

          129.    As a direct, foreseeable and proximate result of the conduct of AP, as alleged

   hereinabove, Plaintiffs have suffered severe emotional distress, and Defendant is liable for



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   Plaintiffs' severe emotional distress and related damages.

           WHEREFORE, Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji,

   and Yoni Diller demand judgment in their favor against Defendant The Associated Press, damages,

   and for such other and further relief as this Court deems just and proper.

                                      COUNT VI
                       FACILITATING AND FURTHERING TERRORISM
                        PURSUANT TO FLORIDA STATUTE § 772.13(1)

           130.    Plaintiffs repeat and reallege paragraphs 1 through 95 as if fully set forth herein.

           131.    The activities of Hamas were (a) violent and dangerous to human life in violation

   of the criminal laws of the State of Florida and the United States, and (b) were intended to (i)

   intimidate, injure, or coerce a civilian population, (ii) influence the policy of a government by

   intimidation or coercion, and (iii) affect the conduct of government through destruction of

   property, assassination, murder, and kidnapping.

           132.    At all times relevant to this action, AP knew that Hamas was a Foreign Terrorist

   Organization, and that Hamas had engaged in and continued to engage in illegal acts of terrorism,

   including international terrorism.

           133.    At all relevant times, AP knew that the Hamas-Affiliated ‘Journalists’ were

   embedded within Hamas, shared its terrorist ideology, were privy to Hamas’ tactical and strategic

   activities, provided support to Hamas and members of its leadership, and shaped and fashioned

   their media and journalistic services via AP to further the goals and objectives of Hamas.

           134.    AP, through its use of Hamas-Affiliated ‘Journalists,’ knowingly provided

   substantial assistance and encouragement to Hamas, and thus furthered and facilitated Hamas’

   activities in committing, planning, or authorizing acts of international terrorism, including the acts

   of international terrorism that injured Plaintiffs.




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           135.    The access to AP’s media platforms and the veneer of respectability associated with

   press credentials and affiliation with a major news organization which AP knowingly provided to

   Hamas substantially assisted Hamas in carrying out its terrorist activities, including recruiting,

   propagandizing, messaging, radicalizing, and instructing terrorists, raising funds, creating fear and

   carrying out attacks, among other things.

           136.    Through its actions, AP also provided personnel to Hamas by making Hamas

   leaders, members, and potential new recruits available to each other and to Hamas by providing

   credentialed journalists to form crucial communication links within Gaza and internationally.

           137.    AP thus conspired with Hamas in its illegal provision of its media sites to promote,

   glorify and carry out Hamas’ illegal acts of international terrorism, including the acts that injured

   Plaintiffs.

           138.    The ability to propagandize and message via the Hamas-Affiliated ‘Journalists’

   who were being paid by the Defendant, notwithstanding their open and notorious affiliation with

   Hamas constituted material support and resources pursuant to 18 U.S.C. § 2339A, and they

   furthered and facilitated acts of terrorism in violation of Section 772.13(1), Florida Statutes, which

   caused the injuries to Plaintiffs.

           139.    By furthering and facilitating the crimes of Hamas in committing, planning, or

   authorizing acts of international terrorism, including acts that caused each of the Plaintiffs to be

   injured in his or her person and property, AP is liable pursuant to Section 772.13(1), Florida

   Statutes, for threefold any and all damages that Plaintiffs have sustained as a result of such injuries,

   and the costs of this suit, including attorney's fees.

           WHEREFORE, Plaintiffs Noach Newman, Adin Gess, Maya Parizer, Natalia Sanandaji,

   and Yoni Diller demand judgment in their favor against Defendant The Associated Press, threefold




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   damages pursuant to Florida Statute § 772.13(1) and (d), attorney’s fees and costs pursuant to

   Florida Statute § 772.13(1), and for such other and further relief as this Court deems just and

   proper.

                                             JURY DEMAND

   Plaintiffs demand a trial by jury on all issues so triable.


                                                           Respectfully submitted,

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